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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
              v.                                     ) Criminal Action No. 1 :23-cr-00061-MN
                                                     )
 ROBERT HUNTER BIDEN,                                )
                                                     )
                      Defendant.                     )
                                                     )


                                               .ORDER

        IT IS HEREBY ORDERED that Defendant's Consent Motion for an Amended Scheduling

 Order is GRANTED.

        Under the Amended Scheduling Order, the deadline are as follows: Defendant pretrial

 motions are to be filed by December 11, 2023; Plaintiff's oppositions/responses are to be filed by

 January 16, 2024; and Defendant's replies are to be filed by January 30, 2024.

        IT IS FURTHER ORDERED that the time between this Order and December 11, 2023, is

 excluded under the Speedy Trial Act because the ends of justice served by the delay outweigh
 best interest of the public and the defendant in a speedy trial. See 18 U.S.C. Sec 3161 (h)(7)(A ).




  October 19, 2023
                                                                 A;/ JL. �L
 Date                                                           ffctciiiJ1e Maryellen Noreika
                                                                United States District Judge
